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STATE OF TENNESSEE na
CHANCERY COURT OF KNOX COUNTY bi
Sixth Judicial District ‘3
7» of Monroe Employees’ Retirement System, On behalf of Itself and All Others Similarly Situated, Plaintiff
lolecular Imaging, Inc., Ronald Nutt, Terry D. Douglass, Wolf-Ekkehard Blanz, Roy Doumani 5 R, Hea

Leroy Hood, Hamilton jordan, William W. McInnes and Michael E, Phelps, Defendanig. Man 9 2 Ph:
Civil Action No._) W373 nie es
Sheriff of Knox County, Tennessee Ma ae GAN
SUMMONS
To: CTI Molecular Imaging, Inc., 810 Innovation Drive, Knoxville, TN 37932

You are hereby summoned and required to serve upon: __Amett, Draper and Hagood
Whose address is: _ 800 South Gay Street, Suite 2300, Knoxville, TN 37901

A true copy of the defense to the complaint which is herewith served upon you, within 30 days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against
you for the relief demanded in the complaint.

Issued this 24% day of iY \GA dy ,20p .

Witness, Howard G. Hogan, Clerk and Master of said Court, at office in Knoxville, Tennessee.

HOWARD G. pb CRERIC AND MASTER

By:
Deputy Clerk

NOTICE TO THE DEFENDANT(S):

Tennessee law provides a four thousand dollar ($4,000.00) personal property exemption from execution or seizure to satisfy a
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RETURN ON SERVICE OF SUMMONS
Received this day of , 20

Deputy Sheriff
Thereby certify and return that on the day of _ 20 , |served this surmmons
together with the complaint as follows:
I failed to serve this summons within 30 days after its issuance because:

Sheriff - Deputy Sheriff

Case 3:05-cv-00204 Document 1-1 Filed 04/15/05 Page 1of34 PagelD #: <pagelD>
STATE OF TENNESSEE

CHANCERY COURT OF KNOX COUNTY Ful bo
Sixth Judicial District oi
City of Monroe Employees’ Retirement System, On behalf of Itself and All Others Similarly Situated, Plaintiff
CTI Molecular Imaging, Inc., Ronald Nutt. Terry D. Dou lass, Wol-Ekkehard Blanz, Roy D i. James R. Heath

Leroy Hood, Hamilton Jordan, William W. McInnes and Michael E. Phelps, Defendants

Civil Action No.__) [vy 37 G>- 3 R22 Pi hi 25

Sheriff of Knox County, Tennessee "*-’ sey
‘SUMMONS
To:  _ Roy Doumani

You are hereby summoned and required to serve upon: Arnett, Draper and Hagood

Whose address is: _800 South Gay Street, Suite 2300, Knoxville, TN 37901

A true copy of the defense to the complaint which is herewith served upon you, within 30 days after service of this
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issued this _Os%"X day of W\padke 20% <7.

Witness, Howard G. Hogan, Clerk and Master of said Court, at office in Knoxville, Tennessee.

HOWARD tol ONE AND MASTER

By: : im,
Deputy Clerk

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Sheriff - Deputy Sheriff

Case 3:05-cv-00204 Document 1-1 Filed 04/15/05 Page 2 of 34 PagelD #: <pagelD>
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Case 3
t STATE OF TENNESSEE
CHANCERY COURT OF KNOX COUNTY
Sixth Judicial District Pi RG
City of Monroe Employees’ Retirement System, On behalf of Itself and All Others Similarly Situated, 1 Plamtiff
CTL Molecular Imaging, Inc., Ronald Nutt, Terry D. Douglass, Wolf-Ekkehard Blanz, Roy Doumani, James R. Heath

roy Hood, Hamilton Jordan, William W. McInnes and Michael E. Phelps, Defendants. ta
Civil Action No. JSG 23 FR 22 Fi 5: 96

Sheriff of Knox County, Tennessee nO ns,

ever PA

SUMMONS TT HOGA

To: Terry D. Douglas

You are hereby summoned and required to serve upon: __Arnett, Draper and Hagood
Whose address is: _ 800 South Gay Street, Suite 2300, Knoxville, TN 37901

A true copy of the defense to the complaint which is herewith served upon you, within 30 days after service of this
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Issued this 3 A day of __ ‘{eack, 209 f

Witness, Howard G. Hogan, Clerk and Master of said Court, at office in Knoxville, Tennessee.

HOWARD G. bb CLERC AND MASTER
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Deputy Sheriff
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Sheriff - Deputy Sheriff

Case 3:05-cv-00204 Document 1-1 Filed 04/15/05 Page 4 of 34 PagelD #: <pagelD>
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Terry Dougiass

CTI Molecular Imaging, Inc.
810 Innovation Drive
Knoxville, TN 37932

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Case 3:05-cv-00204 Document 1-1 Filed 04/15/05 Page 5of 34 PagelD #: <pagelD>
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CUrY OF MONEE EMPLOYEES }

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Case 3:05-cv-00204 Document 1-1 Filed 04/15/05 Page 6 of 34 PagelD #: <pagelD>
STATE OF TENNESSEE cee
CHANCERY COURT OF KNOX COUNTY Pst}
Sixth Judicial District
City of Monroe Employees’ Retirement System, On behalf of Itself and All Others Similarly Situated, Plaintiff
CTI Molecular Imaging, Inc., Ronald Nutt, Terry D. Douglass, Wolf-Ekkehard Blanz, Roy Doumani, James R. Heath,
ri” BEB
Leroy Hood, Hamilton Jordan, William W. McInnes and Michael E. Phelps, Defendant 22 FY hig

Civil Action No. } YU Sil a-3 Hee ay

Sheriff of Knox Co Tennessee UNS RIGAN
SUMMONS

To: Wolf-Ekkehard Blanz

You are hereby summoned and required to serve upon: __Arnett, Draper and Hagood

Whose address is: _ 800 South Gay Street, Suite 2300, Knoxville, TN 37901

A true copy of the defense to the complaint which is herewith served upon you, within 30 days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against
you for the relief demanded in the complaint.

Issued this aa day of OP Nand. 2008s.

Witness, Howard G. Hogan, Clerk and Master of said Court, at office in Knoxville, Tennessee.

HOWARD G. Aa CLERIC AND MASTER

By: Me YEN,
Deputy Clerk

NOTICE TO THE DEFENDANT(S):

Tennessee law provides a four thousand dollar ($4,000.00) personal property exemption from execution or seizure to satisfy a
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RETURN ON SERVICE OF SUMMONS
Received this day of + 20 .

Deputy Sheriff
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I hereby certify and return that on the
together with the complaint as follows:
I failed to serve this summons within 30 days after its issuance because:

Sheriff - Deputy Sheriff

Case 3:05-cv-00204 Document 1-1 Filed 04/15/05 Page 7 of 34 PagelD #: <pagelD>
STATE OF TENNESSEE
CHANCERY COURT OF KNOX COUNTY

CHANCERY C820 Bl ee er

Sixth Judicial District AUER 29 ou
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stem, On behalf of Itself and All Others Similarly Situa 26
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Plaintiff Pt GOGAN

Civil Action No.

Sheriff of Knox County, Tennessee
SUMMONS

To: Leroy Hood

You are hereby summoned and required to serve upon: __Amett Draper and Hagood

Whose address is: _ 800 South Gay Strest, Suite 2300, Knoxville, TIN 37901

A true copy of the defense to the complaint which is herewith served upon you, within 30 days after
service of this summons upon you, exclusive of the day of service. Ifyou fail to do so, judgment by
default will be taken against you for the relief demanded in the complaint.

Issued this 3 day of X Yerba , 2005.

Witness, Howard G. Hogan, Clerk and Master of said Court, at office in Knoxville, Tennessee.

HOWARD G. AB. Lea AND MASTER

* ¥

By:
Deputy Clerk \

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“Case ®05-cv-00204 Documeff iT"FIeTO4/15/05 Page 8 of 34 PagelD #: <pagelD>
Deputy Sheriff

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[hereby certify and return that on the day of , 2005, I serv
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Sheriff - Deputy Sheriff

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STATE OF TENNESSEE

CHANCERY COURT OF KNOX COUNTY Pei
: Sixth Judicial District “—
City of Monroe Employees’ Retirement Syste behalf of [tself and All Others Similarly Situated, Plaintiff
CTI Molecular Imaging, Inc., Ronald Nutt, Terry D. Douglass, Wolf-Ekkehard Blanz, Roy Doumani, James R. Heath,
Lero Hamilton Jordan, William W. McInnes and Michael E. Phelps, Defendayfts}i2? 22 Piz 4:25
Civil Action No.) 23 Ue -
Sheriff of Knox County, Tennessee WON PUAN
SUMMONS

To: Ronald Nutt

You are hereby summoned and required to serve upon: __Arnett, Draper and Hagood
Whose address is: _ 800 South Gay Street, Suite 2300, Knoxville, TN 37901

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Issued this can day of Teyana ,20D5

Witness, Howard G. Hogan, Clerk and Master of said Court, at office in Knoxville, Tennessee.

HOWARD G. Sh org AND MASTER

By: oe. x

Deputy Clerk

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RETURN ON SERVICE OF SUMMONS

Received this day of  20_:
Deputy Sheriff
Lhereby certify and return that on the day of _, 20 _ Lserved this summons
together with the complaint as follows:
failed to serve this summons within 30 days after its issuance because:
Sheriff - Deputy Sheriff

Case 3:05-cv-00204 Document 1-1 Filed 04/15/05 Page 10 of 34 PagelD #: <pagelD>
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FILED
STATE OF ESSEE
CHANCE F KNOX COUNTY
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Civil Action No.
Sheriff Tennessee
SUM MONS
To: Hamilton Jordan
You are hereby summoned and required to serve upon: __Arett, Draper and Hagood
Whose address is: _ 800 Sout h t, Suite 23 xville TN 37901

A true copy of the defense to the complaint which is herewith served upon you, within 30 days afler
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Issued this oak day of ya. AD , 2005,

Witness, Howard G, Hogan, Clerk and Master of suid Court, at office in Knoxville, Tennessee.

By: : uf ers.
Deputy Clerk

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Case 3:05-cv-00204 Document 1-1 Filed 04/15/05 Page 11o0f34 PagelD #: <pagelD>
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* SENT BY: WHJ; 404 BOS 0638; APR-4-05 @:419PH; PAGE 3

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Sheriff - Deputy Sheriff

Case 3:05-cv-00204 Document 1-1 Filed 04/15/05 Page 12 of 34 PagelD #: <pagelD>
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IN THE CHANCERY COURT FOR KNOX COUNTY, TENNESSEE .
SIXTH JUDICIAL DISTRICT AT KNOXVILLE Lo
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CITY OF MONROE EMPLOYEES’ ) ase No. } (23 Ver 3

. RETIREMENT SYSTEM, On Behaif of )
y Itself and All Others Similar’y S Situated, off i CLASS ACTION
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Sif Ligat

sy eign AE 2d {5 390) COMPLAINT BASED UPON SELF-

Siv ta An ° ) DEALING AND BREACH OF
Spall 04 ) FIDUCIARY DUTY
CTI MOLECULAR IMAGING, INC., —)
\23104{ RONALD NUTT, TERRY D. 43438 |)

DOUGLASS, WOLF- EKKEHARD 4345. ¥3)
BLANZ, ROY DOUMANI, JAMES R. 724" BBY I3le BES
$381 HEATH, LEROY HOOD, HAMILTON 4 Bua e
JORDAN, WILLIAM W. MCINNES and By BK
MICHAEL E. PHELPS, 421249
)

Defendants.

Case 3:05-cv-00204 Document 1-1 Filed 04/15/05 Page 13 0f 34 PagelD #: <pagelD>
Plaintiff, by its attorneys, alleges as follows:

SUMMARY OF THE ACTION

1. This is a stockholder class action brought by plaintiff on behalf of the holders
of CTI Molecular Imaging, Inc. (“CTI Molecular Imaging” or the ““Company”) common
stock against CTI Molecular Imaging and its directors arising out of their attempts to provide
certain CTI Molecular Imaging insiders and directors with preferential treatment in
connection with their efforts to complete the sale of CT] Molecular Imaging to Siemens A.G.
(the “Acquisition”). This action seeks equitable relief only.

2. In pursuing the unlawful plan to sell CTI] Molecular Imaging, each of the
defendants violated applicable law by directly breaching and/or aiding and abetting the other
defendants’ breaches of their fiduciary duties of loyalty, due care, candor, independence,
good faith and fair dealing.

3. In fact, instead of attempting to obtain the highest price reasonably available
for CTI Molecular Imaging for its shareholders, the individual defendants spent substantial
effort tailoring the structural terms of the Acquisition to meet the specific needs of Siemens.

4. In essence, the proposed Acquisition is the product of a hopelessly flawed
process that was designed to ensure the sale of CTI Molecular Imaging to one buying group,
and one buying group only, on terms preferential to Siemens and to subvert the interests of
plaintiff and the other public stockholders of CTI Molecular Imaging.

JURISDICTION AND VENUE

5, This Court has jurisdiction over this action pursuant to Tenn. Code Ann. §16-
11-101, ef seg. This Court has jurisdiction over each of the defendants because at all

relevant times, they conducted business in, resided in and/or were citizens of Tennessee.

Case 3:05-cv-00204 Document 1-1 Filed oaht5/05 Page 14 of 34 PagelD #: <pagelD>
CTI Molecular Imaging’s principal place of business was, at all relevant times, in the State
of Tennessee.

6. Venue is proper in this County pursuant to Tenn. Code Ann. §20-4-101, e¢
seq., in that the actions complained of arose in this County.

PARTIES AND OTHER ENTITIES

7. Plaintiff City of Monroe Employees’ Retirement System is, and at all times
relevant hereto was, a shareholder of CTI Molecular Imaging.

8. CTI Molecular Imaging is a Delaware corporation. CTI Molecular Imaging is
a manufacturer of positron emission tomography (“PET”) imaging equipment and related
molecular imaging products used in the detection and treatment of cancer, cardiac disease
and neurological disorders. The Company’s product line for PET includes scanners,
cyclotrons, microPET animal scanners, radiopharmaceuticals, detector materials, medical
image analysis applications and support services.

9, Defendant Ronald Nutt (“Nutt”) is President, CEO and a Board member of the
Company. He is a founder of the Company, along with defendants Douglass and Phelps.
Prior to founding of the Company in 1983, Nutt worked at EG&G, an engineering services
firm. At EG&G, Nutt worked alongside defendant Douglass and defendant Phelps, a
Professor at UCLA, to develop the first commercial PET scanner in 1976. As of February
29, 2004, Nutt beneficially owned approximately 7.8% of the outstanding shares of CTI
Molecular Imaging. Since September of 2000, CTI Molecular Imaging has entered into a
series of lease agreements with Corridor Park Limited Partnership for office space in
Knoxville, Tennessee. Certain of CTI Molecular Imaging’s officers and principal

stockholders, including Nutt and Douglass, are partners in Corridor. As detailed more fully

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Case 3:05-cv-00204 Document 1-1 Filed 04/15/05 Page 15 of 34 PagelD #: <pagelD>
below, CTI Molecular Imaging has entered into five agreements with Concorde
Microsystems, Inc. Defendant Nutt’s son is the President of Concorde and his daughter is a
more than 10% stockholder of Concorde’s capital stock.

10. Defendant Terry D. Douglass (“Douglass”) is Chairman of the Board of the
Company. He is a founder of the Company, along with defendants Nutt and Phelps.
Douglass previously served as Chief Executive Officer of CTI Molecular Imaging before
stepping down in October of 2003, when he was replaced by defendant Nutt. Prior to
founding of the Company in 1983, Douglass served as the President of EG&G. He led the
group that included defendant Nutt and defendant Phelps of UCLA to develop the first
commercial PET scanner in 1976. As of February 29, 2004, Douglass beneficially owned
approximately 16.3% of the shares outstanding of CTI Molecular Imaging. Since September
of 2000, CTI Molecular Imaging has entered into a series of lease agreements with Corridor
Park Limited Partnership for office space in Knoxville, Tennessee. Certain of CTI
Molecular Imaging’s officers and principal stockholders, including Nutt and Douglass, are
partners in Corridor.

11. Defendant Wolf-Ekkehard Blanz (“Blanz”) is a Board member of the
Company. Blanz works for Siemens as the Vice President of Product Lifecycle
Management. Previously, he served as Vice President of Engineering. Blanz joined
Siemens in 1997 as the head of software engineering in the computed tomography section.
As detailed more fully below, in 1987, the Company and Siemens entered into a joint
venture by which Siemens acquired 49.9% of the outstanding stock of CTI Molecular

Imaging’s subsidiary, CPS. Pursuant to the terms of the joint venture, as long as the

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Case 3:05-cv-00204 Document 1-1 Filed 04/15/05 Page 16 of 34 PagelD #: <pagelD>
Company and Siemens each owns more than 20% of the outstanding shares of CPS, CTT
Molecular Imaging’s board will nominate a Siemens representative — chosen by Siemens ~— to
serve as a member of CTI Molecular Imaging’s board. Blanz is the current Siemens
representative. He joined CTI Molecular Imaging’s board in February of 2004.

12. Defendant Roy Doumani (“Doumani”) is a Board member of the Company.

13. Defendant James R. Heath (“Heath”) is a Board member ofthe Company. He
is a Professor of Chemistry and Biochemistry within the Department of Molecular &
Medical Pharmacology at UCLA, along with defendant Phelps. Defendant Phelps is the
Chair of the Department. As detailed more fully below, the Company has had close ties with
UCLA and specifically with the Department of Molecular & Medical Pharmacology over the
past decade.

14. Defendant Leroy Hood (“Hood”) is a Board member of the Company.

15. Defendant Hamilton Jordan (“Jordan”) is a Board member of the Company.
Jordan is a partner at Jordan & Davis Partners, LLC. As detailed more fully below, CTT
Molecular Imaging has close ties to Jordan’s partnership.

16. Defendant William W. McInnes (“McInnes”) is a Board member of the
Company.

17. Defendant Michael E. Phelps (“Phelps”) is a Board member of the Company.
He is a founder of the Company, along with defendants Nutt and Douglass. Defendant
Phelps has been on the faculty at UCLA since 1976. He currently serves as Chair of the
Department of Molecular and Medical Pharmacology. Prior to founding of the Company in

1983, Phelps through UCLA worked with defendants Nutt and Douglass, who then worked

Case 3:05-cv-00204 Document 1-1 Filed o4fi5/05 Page 17 of 34. PagelD #: <pagelD>
at EG&G, to develop the first commercial PET scanner in 1976. As of February 29, 2004,
Nutt beneficially owned approximately 6.0% of the shares outstanding of CTI Molecular
Imaging. As detailed more fully below, the Company has had close ties with UCLA and
specifically with the Department of Molecular & Medical Pharmacology over the past
decade.

18. The defendants named above in {9-17 are sometimes collectively referred to
herein as the “Individual Defendants.”

DEFENDANTS’ FIDUCIARY DUTIES

19. In accordance with their duties of loyalty, care and good faith, the defendants,
as directors and/or officers of CTI Molecular Imaging, are obligated to refrain from:

(a) participating in any transaction where the directors’ or officers’ loyalties
are divided;

(b) participating in any transaction where the directors or officers receive or
are entitled to receive a personal financial benefit not equally shared by the public
shareholders of the corporation; and/or

(c) unjustly enriching themselves at the expense or to the detriment of the
public shareholders.

20.  Plaintiffalleges herein that the Individual Defendants, separately and together,
in connection with the sale of CTI Molecular Imaging, violated the fiduciary duties owed to
plaintiff and the other public shareholders of CTI Molecular Imaging, including their duties
of loyalty, good faith and independence, insofar as they stood on both sides of the transaction
and engaged in self-dealing and obtained for themselves personal benefits, including

personal financial benefits not shared equally by plaintiff or the Class.

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21. Because the Individual Defendants have breached their duties of loyalty, good
faith and independence in connection with the sale of CTI Molecular Imaging, the burden of
proving the inherent or entire fairness of the Acquisition, including all aspects of its
negotiation and structure, is placed upon the Individual Defendants as a matter of law.

CLASS ACTION ALLEGATIONS

22. Plaintiff brings this action on its own behalf and as a class action on behalf of
all holders of CTI Molecular Imaging stock who are being and will be harmed by
defendants’ actions described below (the “Class”). Excluded from the Class are defendants
herein and any person, firm, trust, corporation, or other entity related to or affiliated with any
defendant.

23. This action is properly maintainable as a class action.

24. The Class is so numerous that joinder of all members is impracticable.
According to CTI Molecular Imaging’s Securities and Exchange Commission (“SEC”)
filings, there were more than 47 million shares of CTI Molecular Imaging common stock
outstanding.

25. There are questions of law and fact which are common to the Class and which
predominate over questions affecting any individual Class member. The common questions
include, inter alia, the following:

(a) whether defendants have breached their fiduciary duties of undivided
loyalty, independence or due care with respect to plaintiff and the other members of the
Class in connection with the Acquisition;

(b) whether the Individual Defendants are engaging in self-dealing in

connection with the Acquisition;

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(c) whether the Individual Defendants are unjustly enriching themselves
and other insiders or affiliates of CTI Molecular Imaging;

(d) | whether defendants have breached any of their other fiduciary duties to
plaintiff and the other members of the Class in connection with the Acquisition, including
the duties of good faith, diligence, honesty and fair dealing;

(e) | whether the defendants, in bad faith and for improper motives, have
impeded or erected barriers to discourage other offers for the Company or its assets; and

(f) | whether plaintiff and the other members of the Class would suffer
irreparable injury were the transactions complained of herein consummated.

26. Plaintiffs claims are typical of the claims of the other members of the Class
and plaintiff does not have any interests adverse to the Class.

27. Plaintiff is an adequate representative of the Class, has retained competent
counsel experienced in litigation of this nature and will fairly and adequately protect the
interests of the Class.

28. The prosecution of separate actions by individual members of the Class would
create a tisk of inconsistent or varying adjudications with respect to individual members of
the Class which would establish incompatible standards of conduct for the party opposing
the Class.

29, Plaintiff anticipates that there will be no difficulty in the management of this
litigation. A class action is superior to other available methods for the fair and efficient

adjudication of this controversy.

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30. Defendants have acted on grounds generally applicable to the Class with
respect to the matters complained of herein, thereby making appropriate the relief sought
herein with respect to the Class as a whole.

BACKGROUND TO THE PROPOSED ACQUISITION

31. CTI Molecular Imaging is a manufacturer of PET imaging equipment and
related molecular imaging products used in the detection and treatment of cancer, cardiac
disease and neurological disorders. The Company’s product line for PET includes scanners,
cyclotrons, microPET animal scanners, radiopharmaceuticals, detector materials, medical
image analysis applications and support services.

32, CTI Molecular Imaging was founded in 1983 by defendants Nutt, Douglass
and Phelps. Initially, the Company focused on PET and molecular imaging. Later, the
Company extended its business into research, development and the distribution of PET
tracers and probes. CTI Molecular Imaging has five business entities. They are as follows:

° CTIPET Systems (CPS) — responsible for PET and PET/CT scanner research,
development and manufacturing,

° PET NET Solutions — a network of more than 40 PET radiopharmaceutical
distribution centers equipped with cyclotrons;

e CTI Mirada Solutions — development of software applications for the
molecular imaging industry, addressing drug discovery as well as disease
detection, diagnosis and management,

° CTI Molecular Technologies — research and development of future molecular
biomarkers; and

° CTI Concorde — research, development and manufacturing of PET, SPECT
and CT small animal imaging systems for the pre-clinical market.

33. CTI Molecular Imaging’s CPS subsidiary is ajoint venture that was formed in

1987 between Siemens and CTI Molecular Imaging. The purpose of the joint venture was to

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combine CTI Molecular Imaging’s expertise in PET technology with Siemen’s global
distribution network. CTI Molecular Imaging owns 50.1% of the shares of CPS while
Siemen’s owns the remaining 49.9% of the shares. The cash consideration paid by Siemen’s
for its interest in CPS was paid directly to the individual shareholders of CPS, including
defendants Nutt, Douglass and Phelps.

34. The CPS joint venture is an important business operation for CTI Molecular
Imaging. Taking into account its 50.5% ownership interest in CPS, for the years ending
September 30, 2004, 2003 and 2002, approximately 52.2%, 47.5% and 58.5%, respectively,
of CTI Molecular Imaging’s revenue was derived from the sale of PET equipment
manufactured by CPS.

35. According to the terms of the joint venture, Siemens has an option to acquire
from CTI Molecular Imaging for cash up to an 80% interest in CPS, if and when CPS
achieves specified unit sales volumes. Once the specified target is reached, Siemens is not
permitted to exercise its option until the end of the fiscal year in which this target level is
reached. According to CTI Molecular Imaging’s 10-K for fiscal year end September 30,
2004, filed on December 14, 2004, it estimated that it would not likely meet the specified
sales volumes prior to the second half of fiscal year 2006.

36. On March 18, 2005, the Company issued a press release entitled “Siemens to
Acquire CTI Molecular Imaging.” The press release stated in part:

Siemens and CTI Molecular Imaging, Inc. announced today that they have

entered into a merger agreement under which Siemens will acquire CTI. The

acquisition will include all the businesses of CTI Molecular Imaging, Inc.,

including CTI PET Systems, PETNET Solutions, CTI Mirada Solutions, CTT
Molecular Technologies and CTI Concorde Microsystems.

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Under the terms of the agreement, Siemens Medical Solutions USA,
Inc. will commence a cash tender offer within ten business days to acquire all
of the outstanding shares of CTI stock at a price of $20.50 per share.
Following the completion of the tender offer, any remaining shares of CT]
stock will be acquired in a merger at the same price per share. The board of
directors of each company has approved the agreement. The transaction is
subject to customary regulatory approvals and other customary closing
conditions, and is expected to close in the second quarter of 2005. The
transaction has a value of approximately $1 billion.

With this acquisition, Siemens Medical Solutions continues and
strengthens its commitment to molecular imaging development, technological
innovation and the creation of dynamic new technologies that will
revolutionize the diagnosis and treatment of disease.

“This step is a natural progression in our long-time association with
CTI, and reflects Siemens’ overall strategy to transform the delivery of
healthcare by developing trendsetting innovations that improve patient care
while reducing costs,” said Erich Reinhardt, Ph.D., president and CEO,
Siemens Medical Solutions.

CTI Molecular Imaging was established in 1983, focusing on positron
emission tomography (PET) and molecular imaging and later extended its
business into research, development and the distribution of PET tracers and
probes. CTI PET Systems (CPS) was formed in 1987 as a joint venture
between CTI and Siemens to combine CTI’s expertise in PET technology with
Siemens’ global distribution network.

Michael Reitermamn, president of Siemens Medical Solutions Nuclear
Medicine Division, commented, “Molecular medicine will result in more
individualized and more effective diagnosis and therapy. CTI Molecular
Imaging has been actively engaged in next-generation molecular diagnostics
research and the development of new imaging technologies and biomarkers.
This acquisition will enable Siemens to strengthen and broaden our
capabilities in molecular imaging, and define new standards within the
industry.”

“This acquisition represents the combination of two companies that are
innovation leaders. It will benefit PET imaging’s continued advancement as
well as enhance the future of molecular imaging,” added Ronald Nutt, Ph.D.,
president and CEO of CTI Molecular Imaging.

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SUBSTANTIVE ALLEGATIONS

37. Despite defendants’ claim that the merger represents a 17% premium, the
$20.50 per share price in the proposed Acquisition represents a substantial discount to CTI
Molecular Imaging’s public shareholders based on among other things, the change in control
premium, the synergies between the two companies and the Company’s improving financial
results.

38. As the proposed Acquisition will result in the transfer of 100% of the
ownership interest in the Company, the offered price does not adequately reflect a change in
control premium much less the synergies to be gained by Siemens in the transaction. Indeed,
an analyst with Pacific Growth Equities commented in a research note issued on March 18,
2005 that “fin our view this is a highly synergistic deal that combines the expertise of both
companies in development of new imaging technologies and biomarkers... We feel that this
is a natural evolution of the relationship between the two companies and is indeed highly
synergistic for Siemens.”

39. | Moreover, the Company’s financial position has grown stronger and stronger,
and it has achieved success in recent months. For instance, on January 31, 2005, CTI
Molecular Imaging issued a press release announce its results for the first quarter of 2005. In
so doing, the Company noted that:

. The Company’s net revenue for the quarter was $111.5 million compared to
net revenue of $74.1 million for the same period for fiscal year 2004 or an
increase of over 50%. ~

° The Company’s net income for the quarter was $4.0 million compared to net

income of $0.7 million for the same period for fiscal year 2004 or more than 5
times the amount of income. es

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° The Company’s backlog at December 31, 2005 (end of Q1 2005) was $164
million, an increase of $25 million from $139 million at September 30, 2004.

40. News of these positive results caused CTI Molecular Imaging’s stock to jump
and close up $2.63 at $17.36 from its previous days close, or a one-day increase of 17%.

Al. Indeed, on February 8, 2005, an analyst with Bear Stearns announced that it
was raising its 2005 price target for CTI Molecular Imaging from $18 per share to 523 per
share.

42. Moreover, many of the executives at CTI Molecular Imaging, including Nutt
and Douglass, have signed Change-in-Control Agreements with the Company, whereby if
the proposed Acquisition does take place, they will receive millions of dollars in benefits not
offered to CTI Molecular Imaging’s public shareholders.

43. Accordingly, the merger consideration provided for m the proposed
Acquisition is clearly not an industry-standard premium, but is rather objectively inadequate,
unfair, and clearly does not represent the true value of the Company.

44, The Individual Defendants have approved the proposed Acquisition so that it
transfers 100% of CTI Molecular Imaging’s revenues and profits to Siemens, thus all of the
Company’s operations will now accrue to the benefit of Siemens.

DEFENDANTS HAVE A LONG HISTORY OF ENGAGING IN AND/OR

ACQUIESCING TO SELF-DEALING TRANSACTIONS BY THE OTHER
BOARD MEMBERS

45. In the past, defendants have had a long history of engaging in and/or
acquiescing to self-dealing transactions by the other board members. For example,
defendants Douglass and Nutt are partners of Corridor Park Limited Partnership IJ.

Beginning in September of 2000, the Company entered into series of lease agreements with

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Corridor Park for office space in Knoxville, Tennessee. Currently, CTI Molecular Imaging
has two leases with Corridor for approximately 25,300 square feet of space used for
administrative offices ofthe Company. The largest lease, concerning approximately 21,700
square feet has a three-year term ending July 15, 2006, with an additional three-year option.
The remaining lease, concerning 3,600 square feet of space, had a one-year term and expired
on October 15, 2004, however, CTI Molecular Imaging held three options to renew for
additional one-year terms. CTI Molecular Imaging also pays as additional rent the
unamortized cost of certain build-out construction.

46. In addition, CTI Molecular Imaging has entered into five agreements with
Concorde Microsystems, Inc. Defendant Nutt’s son is the President of Concorde and his
daughter is a more than 10% stockholder of Concorde’s capital stock. The agreements are as

follows:

° In October 1999, CTI Molecular Imaging and CPS entered into a MicroPET
Agreement with Concorde pursuant to which Concorde was granted an
exclusive license to the rights of CPS under the 1994 Collaborative Agreement
with UCLA to data and other results of research performed by UCLA related
to PET and nuclear medicines, including research related to high resolution
PET for animals.

° In connection with the MicroPET Agreement, CPS entered into a Patent and
Technology Sublicense Agreement pursuant to which CPS granted to
Concorde a non-exclusive, royalty-free right to use the materials and methods
covered by the LSO patents in the field of detector systems for high resolution
animal PET scanners.

° On October 1, 1999, CPS and Concorde entered into a Development and
Exclusive Supply Agreement pursuant to which CPS engaged Concorde to
develop manufacture and supply application specific integrated circuits used in
the PET scanners manufactured by CPS.

e In September 2002, PETNET entered into an agreement with Concorde
pursuant to which PETNET was granted an exclusive, royalty-free license to
distribute Concorde products throughout the US and Canada.

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° On September 5, 2002, CTI Molecular Imaging entered into an LSO Supply
Agreement with Concorde pursuant to which CTI Molecular Imaging agreed
to provide Concorde with LSO.

47. Furthermore, CTI Molecular Imaging has close ties with Jordan & Davis
Partners, LLC, a partnership in which defendant Jordan is a partner. In March 2002, CTI
Molecular Imaging entered into a Consulting and Sales Agency Agreement with the
partnership. The partnership was appointed as the Company’s sales agent and representative
in the state of Georgia. The appointment is exclusive for sales resulting from activities of the
Georgia Cancer Coalition and sales to the Coalition’s member hospitals. Defendant Jordan
is the founder of the Georgia Cancer Coalition and currently serves as Co-Chair of the
Strategic Planning Committee. The partnership is paid an annual consulting fee and
additional fees based upon sales of CTI Molecular Imaging’s products and services in
Georgia. During fiscal years ending September 30, 2003 and September 30, 2002, CTI
Molecular Imaging paid the partnership a total of $100,000 and $58,333, respectively.
Additionally, per the agreement, the partnership was granted two warrants to purchase an
ageregate of 72,000 shares of CTI Molecular Imaging common stock at an exercise price of
$6.56 per share. One of the warrants for 40,000 shares expires 90 days following the
termination of the agreement. The other warrant for 32,000 shares expires either 90 days
following the termination of the agreement or on February 7, 2007, whichever is later.

48. Additionally, the Company has had close ties with UCLA and specifically with
the Department of Molecular & Medical Pharmacology over the past decade, whereby ithas
entered into three collaborative agreements with the university. They are as follows:

® In 1994, CTI Molecular Imaging entered into a collaborative agreement with

UCLA for the development of new technologies for the PET and
radiopharmaceutical equipment markets. UCLA agreed to provide its

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facilities and research personal in exchange for CTI Molecular Imaging
agreeing to sell UCLA the equipment at cost. CTI Molecular Imaging had the
right of first refusal to obtain a license for the technology developed by UCLA
under this agreement. The royalties obtained under such a license would be
divided between CTI Molecular Imaging and UCLA pursuant to the terms of
the agreement. This agreement expired on January 2003.

° In 2000, CTI Molecular Imaging entered into a second collaborative
agreement with UCLA to further enhance the development of
radiopharmaceuticals. Under this agreement, the LA tech center was created.
UCLA’s Department of Molecular and Medical Pharmacology agreed to
conduct certain specialized research. In turn, CT] Molecular Imaging agreed
to sell UCLA any equipment needed at cost and further agreed to pay for any
costs related to any patents created as a result of the research conducted. In
addition, CTI Molecular Imaging pays UCLA a monthly research fee, specific
research fees and certain incentive fees. CTI Molecular Imaging will pay
UCLA for royalties for any technology it licenses from UCLA. This
agreement has a five year term.

49. In January 2003, CTI Molecular Imaging entered into a third collaborative
agreement which substantially superceded the first agreement. Again UCLA has the right of
first refusal to obtain an exclusive license to inventions developed by UCLA under the
agreement. The royalties obtained under such a license would be divided between CTI
Molecular Imaging and UCLA pursuant to the terms of the agreement.

SELF-DEALING

50. By reason of their positions with CTI Molecular Imaging, the Individual
Defendants are in possession of non-public information concerning the financial condition
and prospects of CTI Molecular Imaging, and especially the true value and expected
increased future value of CTI Molecular Imaging and its assets, which they have not
disclosed to CTI Molecular Imaging’s public stockholders. Moreover, despite their duty to

maximize shareholder value, the defendants have clear and material conflicts of interest and

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are acting to better their own interests at the expense of CTI Molecular Imaging’s public
shareholders.

51. The proposed sale is wrongful, unfair and harmful to CTI Molecular Imaging’s
public stockholders, and represents an effort by defendants to aggrandize their own financial
position and interests at the expense of and to the detriment of Class members. The
Acquisition is an attempt to deny plaintiff and the other members of the Class their rights
while usurping the same for the benefit of Siemens on unfair terms.

52. In light of the foregoing, the Individual Defendants must, as their fiduciary

obligations require:

° Withdraw their consent to the sale of CTI Molecular Imaging and allow the
shares to trade freely ~ without impediments.

° Act independently so that the interests of CTI Molecular Imaging’s public
stockholders will be protected, including, but not limited to, the retention of
truly independent advisors and/or the appointment of a truly independent
Special Committee.

e Adequately ensure that no conflicts of interest exist between defendants’ own
interests and their fiduciary obligation to maximize stockholder value or, if
such conflicts exist, to ensure that all conflicts be resolved in the best interests
of CTI Molecular Imaging’s public stockholders.

° Disclose the true value of the Company and all other materia! information to
the Company’s shareholders.

53. The Individual Defendants have also approved the Acquisition so that it
transfers 100% of CTI Molecular Imaging’s revenues and profits to Siemens, thus all of CT]
Molecular Imaging’s operations will now accrue to the benefit of Siemens.

CAUSE OF ACTION
Claim for Breach of Fiduciary Duties

54. Plaintiff repeats and realleges each allegation set forth herein.

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55. The defendants have violated fiduciary duties of care, loyalty, candor and
independence owed under Delaware law to the public shareholders of CTI Molecular
Imaging and have acted to put their personal interests ahead of the interests of CTT Molecular
Imaging’s shareholders.

56. By the acts, transactions and courses of conduct alleged herein, defendants,
individually and acting as a part of a common plan, are attempting to advance their interests
at the expense of plaintiff and other members of the Class.

$7, The Individual Defendants have violated their fiduciary duties by entering into
a transaction with Siemens without regard to the fairness of the transaction to CTI Molecular
Imaging’s shareholders. Defendant CTI Molecular Imaging directly breached and/or aided
and abetted the other defendants’ breaches of fiduciary duties owed to plaintiff and the other
holders of CTI Molecular Imaging stock.

58. As demonstrated by the allegations above, the Individual Defendants failed to
exercise the care required, and breached their duties of loyalty, good faith, candor and
independence owed to the shareholders of CT] Molecular Imaging because, among other
reasons:

(a) they failed to properly value CTI Molecular Imaging;
(b) they ignored or did not protect against the numerous conflicts of interest
resulting from their own interrelationships or connection with the Acquisition; and
(c) they failed to disclose the true value of the Company.
59. Because the Individual Defendants dominate and contro] the business and

corporate affairs of CTI Molecular Imaging, and are in possession of private corporate

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information concerning CTI Molecular Imaging’s assets, business and future prospects, there
exists an imbalance and disparity of knowledge and economic power between them and the
public shareholders of CTI Molecular Imaging which makes it inherently unfair for them to
pursue any proposed transaction wherein they will reap disproportionate benefits.

60. By reason of the foregoing acts, practices and course of conduct, the
defendants have failed to exercise ordinary care and diligence in the exercise of their
fiduciary obligations toward plaintiff and the other members of the Class.

61. Asa result of the actions of defendants, plaintiff and the Class will suffer
irreparable injury as a result of defendants’ self dealing.

62. Unless enjoined by this Court, the defendants will continue to breach their
fiduciary duties owed to plaintiff and the Class, and may consummate the proposed
Acquisition which will exclude the Class from its fair share of CT] Molecular Imaging’s
valuable assets and businesses, and/or benefit them in the unfair manner complained of
herein, all to the irreparable harm of the Class, as aforesaid.

63. Defendants are engaging in self-dealing, are not acting in good faith toward
plaintiff and the other members of the Class, and have breached and are breaching their
fiduciary duties to the members of the Class.

64. Unless the proposed Acquisition is enjoined by the Court, defendants will
continue to breach their fiduciary duties owed to plaintiff and the members of the Class, will
not engage in arm’s-length negotiations on the Acquisition terms, and will not supply to CTI

Molecular Imaging’s minority stockholders sufficient information to enable them to cast

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informed votes on the proposed Acquisition and may consummate the proposed Acquisition,
all to the irreparable harm of the members of the Class.

65. Plaintiff and the members of the Class have no adequate remedy at law. Only
through the exercise of this Court’s equitable powers can plaintiff and the Class be fully
protected from the immediate and irreparable injury which defendants’ actions threaten to
inflict.

PRAYER FOR RELIEF

WHEREFORE, plaintiff demands preliminary and permanent injunctive relief in its
favor and in favor of the Class and against defendants as follows:

A. Declaring that this action is properly maintainable as a class action;

B. Declaring and decreeing that the Acquisition agreement was entered into in
breach of the fiduciary duties of the defendants and is therefore unlawful and unenforceable;

C. Enjoining defendants, their agents, counsel, employees and all persons acting
in concert with them from consummating the Acquisition, unless and until the Company
adopts and implements a procedure or process to obtain the highest possible price for
shareholders;

D. Directing the Individual Defendants to exercise their fiduciary duties to obtain
a transaction which is in the best interests of CTI Molecular Imaging’s shareholders;

E. Rescinding, to the extent already implemented, the Acquisition or any of the
terms thereof;

F. Imposition of a constructive trust, in favor of plaintiff, upon any benefits

improperly received by defendants as a result of their wrongful conduct;

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G. Awarding plaintiff the costs and disbursements of this action, including
reasonable attorneys’ and experts’ fees; and

H. Granting such other and further equitable relief as this Court may deem just
and proper. 005927
DATED: March 22, 2005 ARNETT, DRAPER AND HAGOOD

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By: Z. PP * Kio

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COST BOND

We acknowledge ourselves as sureties for the cost of this cause in an amount or amounts
not to exceed that set forth in T.C.A. § 20-12-120.

ARNETT, DRAPER AND HAGOOD

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